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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-00328-LJO-SKO

12                                Plaintiff,            PRELIMINARY ORDER OF FORFEITURE

13                          v.

14   VICTOR ROMERO TORRES,

15                                Defendant.

16

17           Based upon the plea agreement entered into between United States of America and defendant

18 Victor Romero Torres, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19           1.     Pursuant to 21 U.S.C. § 853, defendant Victor Romero Torres’ interest in the following

20 property shall be condemned and forfeited to the United States of America, to be disposed of according

21 to law:

22                  a.   Approximately $66,291.00 in U.S. Currency.

23           2.     The above-listed asset is property constituting, or derived from, any proceeds obtained,

24 directly or indirectly, was used, or intended to be used, in any manner or part, to commit, or to

25 facilitate the commission of a violation of 21 U.S.C. §§ 846 and 841(a)(1).

26           3.     Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

27 seize the above-listed property. The aforementioned property shall be seized and held by the United

28 States Marshals Service and/or the Drug Enforcement Administration in its secure custody and control.


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 1          4.      a. Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States shall publish

 2 notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 3 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall

 4 be posted for at least 30 consecutive days on the official internet government forfeiture site

 5 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written

 6 notice to any person known to have alleged an interest in the property that is the subject of the order of

 7 forfeiture as a substitute for published notice as to those persons so notified.

 8                  b. This notice shall state that any person, other than the defendant, asserting a legal

 9 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

10 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

11 within thirty (30) days from receipt of direct written notice, whichever is earlier.

12          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

13 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853, in which all interests will be

14 addressed.

15          6.      The government, in its discretion, shall conduct discovery, including written discovery,

16 the taking of depositions, and the issuance of subpoenas, in order to identify, locate or dispose of

17 property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal Rules of Criminal

18 Procedure.

19
     IT IS SO ORDERED.
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21      Dated:     March 19, 2014                               /s/ Lawrence J. O’Neill
                                                         UNITED STATES DISTRICT JUDGE
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      PRELIMINARY ORDER OF FORFEITURE                       2
